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 5
 6                                          UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA
 7
 8                                                                 )          Case #2:20-cv-00965-JCM-EJY


                                                                   l
      TREASURE ISLAND, LLC,                                        )
 9
                                                                             VERIFIED PETITION FOR


                                                                   l
10                       Plaintiff(s),                                       PERMISSION TO PRACTICE
                                                                             IN THIS CASE ONLY BY
11            vs.                                                            ATTORNEY NOT ADMITTED
                                                                             TO THE BAR OF THIS COURT
12    AFFILIATED FM INSURANCE                                      )         AND DESIGNATION OF
      COMPANY,                                                     .)        LOCAL COUNSEL
13
                         Defendant(s ).                            �
14                                                                            FILING FEE IS $250.00
15
16            -----,-Ha� rry                             ...,.. n_ ..,....-__...., Petitioner, respectfully represents to the Court:
                         ...,.. _L.,,..·�Ma..,,, n.,.... io
                    (name of petitioner)
17
              1.         That Petitioner is an attorney at law and a member of the law firm of
18
                                                    Hunton Andrews Kurth LLP
19                                                          (firm name)
20     with offices at   ---------------------------
                                  60 StateStreet, Suite MOO
                                       (street address)
21
                             Boston                                               Massachusetts                              02109
22                           (city)                                                  (state)                                (zip code)
23              (617) 648-2800                                          hmanion@huntonak.com
        (area code + telephone number)                                     (Email address)
24
              2.         That Petitioner has been retained personally or as a member of the law firm by
25
                     Treasure Island, LLC
       ------::--:-:---:-=--------- to provide legal representation in connection with
26                     [client(s)]
27     the above-entitled case now pending before this Court
28                                                                                                                                     Rev. 5/16
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                3.       That since.  December20� 1978         • Petitioner has been and presently is a
                                    .         (date)                 .            .
 2      member in good standing of the.bar of the highest Court oftheState of ___         M_a....,.ssa__ ch...,. us_
                                                                                                                  _ e t_ t_s__
                                                                                             (state)
 3      where Petitioner regularly practices law. Petitioner shall attach a certificate from the state bar or
 4      from the clerk of the supreme court or highest admitting_Eourt of each state, territory, or insular
 5      possession of the United States in which the applicant has been admitted to practice law certifying
 6      the applicant's membership therein is in good standing.
 7              4.       That Petitioner was admitted to practice before the following United States District
 8      Courts, United States Circuit Courts of Appeal, the Supreme Court of the United States and Courts
 9      of other States on the dates indicated for each, and that Petitioner is presently a member in good
10      standing of the bars of said Courts.
11                                Court                                  Date Admitted                 Bar Number
12          United States District Court - Massachusetts                     2/12/1979                     317440

13        United States District Court - Eastern Michigan                    5/11/1993

14          United States Court of Appeals - 1st Circuit                     1/10/1980                      15742

15         United States Court of Appeals - 2nd Circuit                      3/09/1993                      93144

16          United States Court of Appeals - 3rd Circuit                     6/27/2008

17          United States Court of Appeals - 4th Circuit                    10/29/1997

18
19
                5.       That there are or have been no disciplinary proceedings instituted against petitioner,
20
        nor any suspension of any license, certificate or privilege to appear before any judicial, regulatory
21
        or administrative body, or any resignation or termination in order to avoid disciplinary or
22
        disbarment proceedings, except as described in detail below:
23
        None.
24
25
26
27
28                                                               2                                                  Rev. 5/16
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 1             6.       That Petitioner has never been denied admission to the State Bar of Nevada. (Give
 2      particulars if ever denied admission):
 3     None.
 4
 5
 6             7.       That Petitioner is a member of good standing in the following Bar Associations.
 7     Massachusetts
 8
 9
10             8.       Petitioner has filed application(s) to appear as counsel under Local Rule IA 11-2
11     {fonnerly LR IA 10-2) during   the past three (3) years in the following matters: (State "none" ifno applications.)
12     Date of Application                  Cause                        Title of Court                 Was Application
                                                                       Administrative Body                Granted or
13                                                                       or Arbitrator                      Denied
14              None
15
16
17
18
19                        (If necessary, please attach a statement of additional applications)
20             9.       Petitioner consents to the jurisdiction of the courts and disciplinary boards of the
21     State of Nevada with respect to the law of this state governing the conduct of attorneys to the same
22      extent as a member of the State Bar of Nevada.
23             10.      Petitioner agrees to comply with the standards of professional conduct required of
24     the members of the bar of this court.
25             11.      Petitioner has disclosed in writing to the client that the applicant is not admitted to
26     practice in this jurisdiction and that the client has consented to such representation.
27
28                                                              3                                                Rev. 5/16
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 1
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 3
 4
       STA TE OF        Massachusetts
 5
       COUNTY OF              Suffolk
 6
 7                   Harry L. Manion

 8     That the foregoing statements are true.
 9
10     Subscribed and sworn to before me this

                            Ju. n (,
11
       _:{_�__day of
12
13     �X,!k{}�
       �
            Olal�orClerkofCourt
14
15
16                     DESIGNATION OF RESIDENT ATTORNEY ADMITTED TO
                        THE BAR OF THIS COURT AND CONSENT THERETO.
17
              Pursuant to the requirements of the Local Rules of Practice for this Court, the Petitioner
18
       believes it to be in the best interests of the client(s) to designate ___R_en_ _e_e M
                                                                                           _ _. F_inc_ h_ ___
19                                                                             (name of local counsel)
       Attorney at Law, member of the State ofNevada and previously admitted to practice before the
20
       above-entitled Court as associate resident counsel in this action. The address and email address of
21
       said designated Nevada counsel is:
22
23                                       8945 W. Russell Road, Suite 300
                                                 (street address)
24
                         Las Vegas                                     Nevada                      89148
25                        (city)                                       (state)                    (zip code)
26               (702) 363-5100                           rfinch@messner.com
        (area code+ telephone number)                        (Email address)
27
28                                                        4                                             Rev. 5/16
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       By this designation the petitioner and undersigned party(ies) agree that this designation constitutes
 2     agreement and authorization for the designated resident admitted counsel to sign stipulations
 3     binding on all of us.
 4
 5                APPOINTMENT OF DESIGNATED RESIDENT NEVADA COUNSEL
 6
               The undersigned party(ies) appoint(s) ___-,-__R....,e=ne_eM    . Finch
 7                                                                       _ ,-- _ _ _ � _____ as
                                                             (name of local counsel)
 8     his/her/their Designated Resident Nevada Counsel in this case.
 9
10
11
12
13
                                             (party's signature)
14
15
                                             (type or print party name, title)
16
17                              CONSENT OF DESIGNEE
              The undersigned hereby consents to serve as associate resident Nevada counsel in this case.
18
19
20                                           Designated Resident Nevada Counsel's signature
21                                           13118                         rfinch@messner.com
                                             Bar number                    Email address
22
23
       APPROVED:
24
       Dated: this ___ day of_______.. 20
25
26
       UNITED STATES DISTRICT JUDGE
27
28                                                      5                                           Rev. 5/16
